  Case 3:17-cv-00072-NKM-JCH Document 277 Filed 03/16/18 Page 1 of 1 Pageid#: 1945

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(Rev. 04/11)
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                                                            TRANSCRIPT ORDER
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1. NAMI:                                                                                2. PHONE NUMBER                        3. DATE
 Robert Cahiil                                                                          (703)456-8000                          3/16/2018
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 1 1951 Freedom Drive, 14th Floor                                                       Reston                                 VA               20190
8. CASE NUMBER                                   9. JUDGE                                                            UATLS OF PROCEEDINGS
 3:17-cv-00072-NKM-JCH                           Norman K. Moon                          ~ o. FROM 3/16/2018                   t t. To 3/16/2018
 1 2. CASE NAME                                                                                                   LOCATION OF PROCEEDINGS
 Elizabeth Sines et al. v. Jason Kessler et al                                           ~ 3. crry Charlottesville             ~4. STATE VA
 I5. ORDfiR FOR
     APPEAL                                      Q CRIMINAL                             ~ CRIMINAL JUSTICE ACT                  Q BANKRUPTCY
     NON-APPEAL                                  X' CIVIL                                   IN FORMA PAUPERIS                       OTHER

 16. TRANSCRIPT REQUESTED (Specify portions)and dates) of proceedings) for which transcripC is requested)

                  PORTIONS                                        DAT'E(S)                            PORTIONS)                             DATES)
     VOIR DIRE                                                                              TESTIMONY (Specify Witness)
     OPENING STATEMENT (PlaintiF~
     OPENING STAI'L'MENT (Defendant)
     CLOS WG ARGUMENT (Plaintiff                                                            PRE-TRIAL PROCEEDING(Spcy)
     CLOSING ARGUMENT(Defendant)
     OPINION O~ COUR9'
     JURY WSTRUCTIONS                                                                    X 01'HER(Speci£y)
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 1 9. DATE                                                                               P1iUN}~:NUMI3LilZ
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